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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY



   CHRISTINE CONFORTI, ARATI
   KREIBICH, MICO LUCIDE, JOSPEH
   MARCHICA, KEVIN MCMILLAN,                   Civil Action No.: 3:20-08267-ZNQ-TJB
   ZINOVIA SPEZAKIS, and NEW JERSEY
   WORKING FAMILIES ALLIANCE, INC.,
                   Plaintiff,

      v.

   CHRISTINE GIORDANO HANLON, in
   her official capacity as Monmouth
   County Clerk, SCOTT M.
   COLABELLA, in his official capacity as
   Ocean County Clerk, PAULA SOLLAMI
   COVELLO, in her official capacity as
   Mercer County Clerk, JOHN S. HOGAN,
   in his official capacity as Bergen County
   Clerk, EDWARD P. MCGETTIGAN, in
   his official capacity as Atlantic County
   Clerk, and E. JUNIOR MALDONADO,
   in his official capacity as Hudson County
   Clerk,
                           Defendants.

    BRIEF IN SUPPORT OF PROPOSED INTERVENOR REPUBLICAN COMMITTEE
                 OF UNION COUNTY’S MOTION TO INTERVENE


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                           I.      FACTS AND PROCEDURAL HISTORY

          Pertinent to this motion, the following sets out the procedural history. Plaintiffs filed their

  complaint on July 6, 2020. (ECF No. 1). An amended complaint was filed on January 25, 2021

  (ECF No. 33). All named defendants and Intervenor State of New Jersey filed motions to dismiss.

  On May 31, 2022, the Court issued an opinion denying the motions to dismiss. (ECF No. 111).

  The Republican Committee of Union County (“RCUC”) now moves for leave to intervene in this

  case.

          Plaintiffs’ Complaint seeks to invalidate the manner in which the named defendants,

  County Clerks of various counties, administer ballot design and ballot placement laws within the

  State of New Jersey. (See Plaintiffs’ Amended Complaint (ECF No. 33)). Plaintiffs’ Amended

  Complaint seeks a declaration that New Jersey’s primary election bracketing and ballot placement

  system is unconstitutional, and seeks injunctive relief to “ensure that the primacy effect/positional

  bias does not continue to advantage bracketed candidates over other candidates running for the

  same office.” (Amended Complaint ¶¶ 8, 9).

          RCUC is the official Republican Party organization of Union County, registered with the

  New Jersey Election Law Enforcement Commission with its members being duly elected by

  Republican voters in a primary election every two years. The mission of RCUC is to promote the

  principles of the party and to recruit, train and support candidates for the nomination of the

  Republican Party in primary elections for all public offices, including President of the United

  States, U.S. Senate and Congress, State Senate and Assembly, Constitutional County offices,

  members of the Board of Commissioners, and municipal offices. Qualified members of RCUC

  may, pursuant to N.J.S.A. 19:23-17, be permitted to use the designation “Regular Organization

  Republican of Union County” as their designation or slogan in primary elections. RCUC endorses

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  such via a political convention process according to the organization’s bylaws adopted by its

  members. RCUC claims an interest, protected by the First Amendment, to associate itself with

  primary election candidates who share its principles and ideals, and to associate those candidates

  with each other, and to inform the primary election voters of the Republican Party. RCUC further

  claims an interest, protected by the First Amendment, to speak freely as to those candidates that it

  has endorsed so as to inform the electorate that RCUC has chosen to associate itself with certain

  candidates, and that those candidates have chosen to associate themselves with each other.

          RCUC seeks to intervene in order to assert its interest in this litigation in maintaining its

  right to associate itself with candidates it chooses who share its principles and ideals, to have those

  candidates associate themselves with other candidates who share the same principles and ideals,

  and to express, through the balloting process, its support for those candidates who have met the

  standards of the RCUC with respect to those principles and ideals.

                                        II.    LEGAL STANDARD

          Motions to intervene are governed by Federal Rule of Civil Procedure. More specifically,

  motions for intervention as of right are governed by Rule 24(a). In considering this subsection of

  the Rule the Third Circuit has explained that

               [a] petitioner seeking to intervene of right “must establish that: (1) the
               application for intervention is timely; (2) the applicant has a sufficient
               interest in the litigation; (3) the interest may be affected or impaired, as a
               practical matter, by the disposition of the action; and (4) the interest is not
               adequately represented by an existing party in the litigation.” In re Cmty.
               Bank of N. Va., 418 F.3d 277, 314 (3d Cir. 2005) (quoting Harris v. Pernsley,
               820 F.2d 592, 596 (3d Cir. 1987)). The claimed interest in the litigation
               must be one that “is specific [to those seeking to intervene], is capable of
               definition, and will be directly affected in a substantially concrete fashion
               by the relief sought.” Kleissler v. U.S. Forest Service, 157 F.3d 964, 972
               (3d Cir. 1998). “[T]he polestar for evaluating a claim for intervention is
               always whether the proposed intervenor’s interest is direct or remote.” Id.

               An intervenor’s interest in the litigation need not be a legal one so long as
               the party “will be practically disadvantaged by the disposition of the action.”
                                                      2

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               Id. at 970 (quoting 7C Charles Allan Wright, Arthur Miller & Mary Kay
               Kane, Federal Practice And Procedure: Civil 2D § 1908, at 301 (1986)

  Benjamin v. Dep’t of Pub. Welfare of Commonwealth, 432 F. App’x 94, 97-98 (3d Cir. 2011).

          Standards for motions for permissive intervention are set forth in subsection 24(b). See

  Commonwealth of Pennsylvania v. President United, States of Am., 888 F.3d 52, 57 (3d Cir. 2018).

  “Whether to allow a party to permissively intervene is left to the sound discretion of the Court.”

  Worthington v. Bayer Healthcare, LLC, 2011 WL 6303999, at *8 (D.N.J. Dec. 15, 2011). On

  timely motion, the Court may permit anyone to intervene who (a) is given a conditional right to

  intervene by federal statute; or (b) has a claim or defense that shares with the main action a

  common question of law or fact. See Fed. R. Civ. P. 24.

                                          III.    ARGUMENT

          RCUC’s Motion to Intervene should be granted for the following reasons: (1) the

  application for intervention is timely, having been filed after the motions to dismiss were resolved;

  (2) RCUC has a sufficient interest in the litigation, as set forth in the Certification accompanying

  this motion; (3) RCUC’s interest in endorsing candidates, having that endorsement appear on the

  ballot, and in grouping endorsed candidates on the ballot so as to demonstrate their association,

  may be affected or impaired, as a practical matter, by the disposition of the action; and (4) the

  interest of the RCUC in endorsing candidates and in the grouping of endorsed candidates together,

  is not adequately represented by an existing party in the litigation. The named defendants, County

  Clerks, being administrators of the election process rather than advocates in the primary process,

  certainly do not adequately represent the interest of RCUC.

          Given the nature of the organization and questions at issue in this litigation, RCUC is an

  interested party and has a defense “that shares with the main action a common question of law or

  fact.” That the RCUC has a defense germane to the main action in this Litigation is demonstrated

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  by Plaintiffs’ Amended Complaint, which seeks to invalidate the process by which the RCUC’s

  endorsement of candidates, and the grouping of RCUC-endorsed candidates, is manifest.

  Intervention by the RCUC will not delay or prejudice the adjudication of the original parties’ rights.

  Accordingly, in order to defend the challenged statutes, RCUC seeks leave to participate in this

  matter.

            For the foregoing reasons, the Republican Committee of Union County hereby requests

  that the Court grant its motion to intervene in this litigation as an interested party, pursuant to

  either Rule 24(a) or 24(b).



                                                                Respectfully Submitted,


  Dated: August 31, 2022                                By: /s/ William J. Palatucci                .




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